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         IN THE UNITED STATES COURT OF APPEALS
                FOR THE ELEVENTH CIRCUIT



INSURANCE MARKETING COALITION LIMITED,
     Petitioner,

           v.
                                                    No. 24-10277
FEDERAL COMMUNICATIONS COMMISSION
and UNITED STATES OF AMERICA,
     Respondents.



                  On Petition for Review of an Order of
                the Federal Communications Commission


RESPONDENTS’ OPPOSITION TO PROPOSED INTERVENORS’
              MOTION TO INTERVENE


     Pursuant to this Court’s order of March 26, 2025, Respondents the

United States and the Federal Communications Commission respond to

the motion of the National Consumers League, Mark Schwanbeck, Micah

Mobley, Christopher K. McNally, and Chuck Osborne (Proposed

Intervenors) to Intervene in Support of Respondents (Doc. 63).

     Although the government did not initially respond to the motion to

intervene, pursuant to the Court’s directive we now oppose the motion.

The motion is untimely under Rule 15(d). Assuming for purposes of
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argument that intervention might yet be permissible, whether to allow it

is a matter of judicial discretion. And discretionary intervention is not

warranted here. The government has decided not to seek further review

of this Court’s panel decision vacating an FCC rule. Allowing the

Proposed Intervenors to become parties at this late stage, only to

continue litigation that the government has decided no longer to pursue,

would undermine the government’s prerogative to direct the course of

this case. The untimely motion to intervene should be denied.

                                ARGUMENT

      Under Rule 15(d) of the Federal Rules of Appellate Procedure, a

person “must” file any motion seeking to intervene in a case involving

direct judicial review of an agency order within 30 days after a petition

for review is filed. Fed. R. App. P. 15(d). The Proposed Intervenors did

not do so here.

      They insist that their motion is “timely” nonetheless, Mot. 17,

invoking Rule 24(a) of the Federal Rules of Civil Procedure, which

permits intervention as “of right.” Fed. R. Civ. P. 24(a). In the alternative,

they contend that the Court should allow untimely intervention as a

matter of its discretion, following the standard of Rule 24(b). Mot. 22.

Neither theory is persuasive.


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I.      The Proposed Intervenors Are Too Late To Intervene As Of
        Right

        Although proceedings involving direct review of an agency order are

governed by the Federal Rules of Appellate Procedure, the Proposed

Intervenors contend that “[b]ecause Rule 15(d) does not provide

standards for intervention, courts of appeal look to the standards

governing intervention in the district courts under Federal Rule of Civil

Procedure 24.” Mot. 12. The Proposed Intervenors argue (at 13) that they

may intervene as of right at this stage of the proceeding under Rule 24(a).

They assert that they have an interest in the Order, and that their motion

is timely now, despite the 30-day limit in Rule 15(d), because they “[c]ould

not have met the standard for intervention as of right [under Rule 24(a)]

earlier.” Mot. 19.1

        That is incorrect. The Hobbs Act, which governs review of FCC

orders, allows intervention “as of right” for “any party in interest in the

proceeding before the” FCC in judicial proceedings to review FCC orders.

28 U.S.C. § 2348; see id. § 2342(1) (providing jurisdiction over final FCC

orders). A “party in interest” refers to a party who participated in an



1Their reply brief (at footnotes 4 and 5) raises some question about
whether they have now abandoned this position.


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agency proceeding. See Alabama Power Co. v. FCC, 311 F.3d 1357, 1366

(11th Cir. 2002). Thus, a party who participated before the agency, as

Proposed Intervenor NCL did (Mot. 3), may intervene as of right in a

proceeding for judicial review of the agency’s order (assuming all other

applicable requirements for obtaining judicial review are satisfied). This

is true even when an intervenor’s position is aligned with the

government’s. See Opp. 4 & n.4 (citing examples). Section 2348 of the

Hobbs Act also contemplates that non-party “individuals . . . whose

interests are affected by the order of the agency . . . may intervene in any

proceeding to review the order,” 28 U.S.C. § 2348, although “intervention

by a nonparty is discretionary,” Alabama Power, 311 F.3d at 1366.

     Accordingly—assuming they met other applicable requirements for

seeking judicial review—all of the Proposed Intervenors could have

moved to intervene in this case had they done so within the time

permitted under Rule 15(d). NCL would have been permitted as of right,

and the other Proposed Intervenors could have sought permissive

intervention. Under the circumstances, NCL’s failure to comply with the

rule means it has no right to intervene at this stage of the proceeding

(and the other Proposed Intervenors never had such a “right”).




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II.   Assuming The Court Has Discretion To Permit Untimely
      Intervention, It Should Not Do So Here

      The Proposed Intervenors separately argue that they should be

permitted to intervene because they meet the requirements for

permissive intervention under Rule 24(b). Mot. 22 (citing Fed. R. Civ.

P. 24(b)). Petitioner Insurance Marketing Coalition, Ltd. does not

expressly state a position as to when untimely intervention under Rule

15(d) might be permissible, but it implies that, if it is available, the “good

cause” standard of Rule 26(b) of the Federal Rules of Appellate Procedure

should apply, not the “permissive intervention” requirements of Rule

24(b) that the Proposed Intervenors invoke. See Opp. at 3 & n.3. Under

either standard, allowing intervention in the circumstances of this case

would be a discretionary decision for the Court. See Cameron v. EMW

Women’s Surgical Ctr., P.S.C., 595 U.S. 267, 2278 (2022) (“a motion for

permissive intervention is committed to the discretion of the court”); cf.

Torres   v.   Oakland     Scavenger    Co.,    487    U.S.   312,    314    (1988)

(characterizing another rule’s “good cause” standard as a “grant of broad

equitable discretion”).

      Whatever discretion the Court may have to allow intervention, it

should not exercise it here. This case concerns, in relevant part, a



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challenge to the FCC’s one-to-one-consent rule. Mot. 1. On review, the

rule was vacated. See Ins. Mktg. Coal. Ltd. v. FCC, 127 F.4th 303, 308

(11th Cir. 2024). The government has decided not to seek further review

of that decision, and—unless this Court allows intervention and

entertains the Proposed Intervenors’ proposed petition for rehearing, see

Doc. 68-1—the time to petition for certiorari has now passed. See Sup. Ct.

R. 13 (1), (3). Allowing the Proposed Intervenors to seek further review

of this Court’s decision by granting their untimely intervention motion

would undermine the government’s prerogative to determine when and

how to conduct ligation regarding an FCC rule.

      As the Supreme Court has explained, the government does not

“appeal every adverse decision.” United States v. Mendoza, 464 U.S. 154,

161 (1984). Its “policy for determining when to appeal” properly takes

into account, for example, not only the legal merits of a lower court’s

decision, but “a variety of factors,” including the suitability of a particular

case as a vehicle for litigating those issues, the likelihood of prevailing,

and the broader interests of the relevant agency and the government as

a whole. Id. at 160–61. Where, as here, the FCC and the Department of




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Justice agree not to pursue additional litigation of an FCC order, that

determination is entitled to considerable respect. 2

     The Proposed Intervenors speculate about the government’s

subjective motivation for deciding not to pursue further review. See Mot.

17. But such unsupported speculation is irrelevant. As the Supreme

Court explained in Mendoza, the government—“[u]nlike a private

litigant”— considers many factors when deciding to seek further review.

464 U.S. at 161. When the government has decided not to appeal a

decision affecting a government agency’s rule, the Court should give that

decision significant deference.




2 To be sure, the Hobbs Act contemplates the possibility that a party may

timely intervene and then continue a proceeding unaffected by the
government’s inaction. 28 U.S.C. § 2348. But that provision does not
make an untimely motion, like this one, timely, Fed. R. App. P. 15(d), or
require the Court to allow non-government parties, in this circumstance,
to direct the course of litigation.

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                            CONCLUSION

     The motion for intervention should be denied.


Dated: April 4, 2025                Respectfully submitted,

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            CERTIFICATE OF INTERESTED PERSONS

As far as we aware, the Certificate Of Interested Persons in Proposed
Intervenors’ Motion To Intervene is complete.


                                  /s/ Matthew J. Dunne
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